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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVISION

 ROBERT MAY, as Administrator for the           )   Cause No. 6:09-165
 Estate of Thomas May, and CHRISTOPHER          )
 HALL, as Administrator for the Estate of       )
 Bradley Hall and MATTHEW BENJAMIN              )
 COOLEY,                                        )
                                                )
                       Plaintiffs,              )
                                                )
        v.                                      )
                                                )
 FORD MOTOR COMPANY,                            )
                                                )
                       Defendant.

 DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT ON PLAINTIFFS'
                           ESC CLAIMS

        Defendant, Ford Motor Company, by and through counsel, hereby moves this Court for

 partial summary judgment on claims asserted by the Plaintiffs, Robert May (as Administrator of

 the estate of Thomas May), Christopher Hall (as Administrator of the estate of Bradley Hall),

 and Ben Cooley that the Ford Taurus (“subject Taurus”) driven by Thomas May on November 9,

 2009 with passengers Bradley Hall and Ben Cooley that was involved in the accident that is the

 subject matter of this case was in a defective condition, was unreasonably dangerous, or was

 defectively designed because it did not have an Electronic Stability Control (“ESC”) system

 installed. Plaintiffs’ have failed to establish that the lack of an ESC system installed in the

 subject Taurus renders the subject Taurus defective or unreasonably dangerous as required by

 Kentucky law.

        In fact, Plaintiffs, through their liability expert, have established quite the opposite.

 Plaintiffs’ expert admits that he has no support to conclude that the lack of an ESC system

 renders the subject Taurus defective or unreasonably dangerous. Plaintiff’s expert also could not
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 testify that the lack of an ESC system was a design defect. Absent any additional proof that the

 subject Taurus was defective or defectively designed because it lacked an ESC system, Plaintiffs

 have failed to establish essential elements under their causes of action.

        Accordingly, Defendant respectfully requests that this Court grant their motion for partial

 summary judgment and dismiss Plaintiff’s claims relating to ESC design and manufacturing

 defects with prejudice.




                                                  Respectfully Submitted,

                                                  By: /s/ Kevin C. Schiferl
                                                     Kevin C. Schiferl, #14138-49
                                                     Attorney for Defendant FORD MOTOR
                                                     COMPANY
                                                     FROST BROWN TODD LLC
                                                     201 N. Illinois St., Suite 1900
                                                     P.O. Box 44961
                                                     Indianapolis, IN 46244-0961
                                                     317-237-3800
                                                     Fax: 317-237-3900
                                                     kschiferl@fbtlaw.com




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                                         CERTIFICATE OF SERVICE

          I hereby certify that on this 17th day of June, 2010, a copy of the foregoing was filed

 electronically. Notice of this filing will be sent to the following parties by operation of the

 Court’s electronic filing system. Parties may access this filing through the Court’s system.

 Peter Perlman                                         F. Thomas Conway
 Peter Perlman Law Offices                             Conway & Conway
 388 South Broadway                                    1800 Kentucky Home Life Building
 Lexington, KY 40508                                   239 South Fifth Street
                                                       Louisville, KY 40202

 Mark L. Morgan                                        Janet Conigliaro
 426 South Fourth Street                               LeClair Ryan
 Danville, KY 40422                                    Fairlane Plaza North
                                                       290 Town Center Drive, Fourth Floor
                                                       Dearborn, MI 48126

 Kevin M. Murphy
 734 W. Main Street, Suite 400
 Louisville, KY 40202


                                                       /s/ Kevin C. Schiferl


 FROST BROWN TODD LLC
 201 N. Illinois St., Suite 1900, P.O. Box 44961
 Indianapolis, IN 46244-0961
 317-237-3800
 Fax: 317-237-3900
 kschiferl@fbtlaw.com




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